       Case 8:08-cr-00037-JSM-MAP Document 62 Filed 09/17/08 Page 1 of 6 PageID 167
AO 245B (Rev 06/05)     heel I . Judgmem in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                     lDDLE DISTRICT OF FLORIDA
                                                         T MPA DNlSIO i




UNITED STAT S OF AMERI A                                       JUDGMENT IN A CRJMINAL CASE

                                                               C SE.      MBER:    8:08-cr-37-T- OMAP
                                                                   SM    MBER:     50006-018
vs.


MICHAEL E. PERKll\
                                                               Defendant' Attorney: Mark      iaravella. cja.

THE DEFENDANT:

lL pleaded guilty to count( ) n     of the Indictment.
_ pleaded nolo contendere 10 count(·) which was accepted by the coun.
_ was found guiJty on count(s) after a plea of not guilty.


TITLE & SECTlO                        AT RE Of OFFE SE                            OFFENSE END ~ D                   CO

21 U.S.C. ~ .. 844(a)                Possessi n of a Quantity of                  Jaouary 16, 200R                    Two
                                      ocaine Base


       The defendant is sentenced iJS provided in pages 2 lluough 6 ofthisjudgmenl. The sentcncc is imposed pursuant to the Sentencing
Reform Act or 1984.

_ The defendant has been found not guilty on count(s)
_ Count(s) (is)(are) dismissed n III In tion of the United State.

IT IS FURTHER ORD           D Illat tbe defendant musl notify the United Stat Attorney for lhi . district within 30 days of any change of
name, residence. or mailing addre . until all flne . restitution, costs. and special asses menls imp sed b this judgment are fuUy paid.
If ordered to pay re'titution, the defendant mu t notify the court and United tale Mtomey of any materi I change in economic
circumstances.


                                                                                  Date of Imposition of entence: eptember 16. 2008




                                                                                        S S. MOODY J
                                                                                        ED TATES DISTRICT JUDGE


                                                                                  DATE: September       lIP ,2008
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AD 1458 (Re" 0 05) Sheer 1 - Impri onm<::nl (Judgment in a Criminal Case)
Defendant:             MICHAEL E. PERKIN                                                                             Judgmenl- Page L of-L
Ca e No.:               :08-cr-37-T- ~O~fAP

                                                                  IMPRISO              IE T

        After considering the advisory scnteocing guidelines and all of the factors identified in Title 18 U.S.c. §§
3553(a)(1)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the cu tody aftbe United States Bureau of Prisons to be imprisoned for
a total term of       9) fONTH a to aunt Two of the Indictment.

       The terms of imprisonment impo d by tbis judgment shall run consecutively with the defendant' term of
imprisonment imposed pursuant to th judgment in Docket umber07 F19714, Hillsborough County, Florida Circuit
Court.

           The defendant shall receive credit for time ~erved since his arrest on 1/16/2008.




    n,e court make the following recommendation                   10 the Bureau of Prisons:




l    The defendant is remanded to the custody of the nired Stares larshal.
    The defendant shall urrcnder ro me Unitcd tat<.'S I\larshal for rhi- districL

           _   at _   a..m./p.m. on _.
               w' nmilid! by me United tates ~larshal.

_ The delcndont :hall surre:nder for -en-ice of ~t:l1IellCC at the: in -ritwion tl -ign3rcd by the Bureau of Pri ·ons.

           _ ber rc 2 p.m. on _.
             11_ nmilied by the nited States Marshal.
             a notified by the Probation or Pn:trial crvic<.'S     flice.




                                                                            RETURN

            [hav executed this judgment as follow:




            D fcndant delivered on                                                to                                              _
      at                                                               -', with a certifi de py of this judgment.




                                                                            By:                                                              _
                                                                                                D puty United Stares Ma hal
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AO 145B (R

Defendant:                                                                                                            .Judgment - Page....::L of ....Q...
Case 0.:
                                                            SUPERVISED RELEASE

         pon release from impri onm nt, ttte defendant shaU be on supervised release for a term of ONE 0) YEAR as to Count
Two of th Indictment.

           he defendant must r pon to the probation office in the di trict to which the defendant is released within 7_ hour of release from
the cllstody of the Bureau of Pri ns.

The defendant shall not commit an ther federal tilte. or local crime. The defendant 'hall n t unlawfully p s'e s a controlled sub ·lance.
The defendant hall refrain from any unJav,rful use of a controlled ubstance. The defendant shall ubmitto one drug test within 15 days
of release from impri onment and at least t\ 0 periodic drug tests thereafter, as detennined b the c un.

.x       The defendant shall not pos' S' a [lIearm, de trU tive de\ice. or an other dangerOl weap n.

~        The defendant hall cooperate in tll collection of D A as directed by the probation fIIcer.

          If thisjudgmem impo e a line or re utution it i a condition of -upervi ed release that the defendant pay in accordance with the
          Schedule ofPaymcnl. -he t of thi judgment.

          The defendant mu'( compl with the .tandard conditions that have been adopted by thi: c un ill' well a with any additional
          condition on the atta hed page.



 I)       the defendant shall nOII~\c the judicial dislri 1 without the penni ion ohhe couri or probati n llliccr:

 2)       !.he dcfcndant shall repon to rhe probation officer and shall -ubmit a truthful and complcte written repon \\ irhin Ihe first five d ys of ea h
          month:

 3)       the defendant. hall all wer truth full. all inquiries by Ihc probation officer and follow the il1strut:tion~ oflhc pr bation mcer;

 4)       the dcfcndalll hall supp n his or her dependel1ls and mcct other family rc ponsibilitics;

 5)       the defendalll .-hall work r gularly at a lawful occupation, unles excu ed by !.he proh<Jtilln ()fli.:",r Il)r ~(;hUI)ling, tr'lining, or other
          acceptable rem;on ';

 6)       !.he defendant 'h311 n tilY Ihe probation officer at least ten days prior to any change in residence r employment;

 7}       !.he defendam 'hall refrain fr m ex cssivc U$e of al ohol and hall nOI pur h e. pos'es', u. e, distributc. r administer an controlled
           'ub 'lance or any paraphL"ffialia related to any conrrolled 'ubstances except as prescribed by a physician:

 S)       !.he defendalll 5h311 n t frequent plac - where controlled ubstan         are illegally old. used, di tributcd. or admini 'tered;

 9)       !.he defendant, hall not ~ ociatc wilh any persons engaged in criminal aCli\ ily and hall nOI a's ciate wilh any pcrson convicted of a
          felony, unles grantcd penni . ion 10 do :0 by Ihe probation officer:

 10)      the defendanl .. hall pennil a pr b lion oflicer to \ i it him or her at an time at home r e1SC\ here and hall pennit c nti            mion of any
          contraband ob er\'cd in plain \·iew 0 !.he probation officer:

 I I)     thc dcfendalll hall notif: thc pr b Ii n fficer within cvenly-rwo hour- f being arrested or qu ~Ii ned by a law enforct:l11ent officer,

 12)      thc dcfcndalll hall n I cnll..' f into ny agre...'1ncm to a t as an int"onner r a special agcnt of a 13\ enforcement agency \..ilh uI!.he
          pcmlis ion of the coun; and

 I J)     as directed b the prohation oni cr, the defcndant-hall n tify third parties of risks thaI may he I ccasioned by thc defendam' criminal record
           r personal history or characteristics and shall permit the pr barion officcr to makc such notification and to con finn the defendant' .
          compliance with 'uch 11 tificatiol1 requirement.
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Defendant:                                                                                     Judgment - Page..:L of .JL
 ase _ 0.:

                                        SPECIAL CO              ITIONS OF SUPERVISION

         The defendant shall also comply with the foil 0\\ ing additional condition. of supervised release:

X        The defendant hall panicipatc in a 'ubstance abu e program (outpatient an or inpatient) and foil \ me probation offic r'
         instructions regarding the implementation of this court directive. Further, the defendant ~hall b required I contribute to the
         co ts of servic . for such trealment not to exceed an amount detemlined reasonable by the Pr barion Officer" Sliding cale or
         Sub. lance Abu~e reatmenl ef\'1ce. During and upon completion of thi program, the d fendant is dire ted to submit to
         random drug te ring.

         The defendant shall cooperate in the c lie lion of 0        as directed by the probation fficer.

X        The mandatory drug testing pr visions shall apply pursuant I the        iolent Crime Control Act. The Court orders mndom drug
         te ring not to exceed 104 te I' per year.
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                                                            (Judgment in a Criminal Case)

 Defendant:                                                                                                Judgmem- Page _5_ of_6_
 Case    0.:


                                            CRIMINAL MONETARY PENALTIES

          The d fendant must pay the total criminal monetary penalties under the sche lule of payments on                  heet fl.

                              Assessment                                                        T nrill ({estitl! tion


          Totals:             $25.00                                Waived                      N/A



          The detennination of restitution is deferred until __                An Amended Judgment in u Criminal Ca e ( 024 C) \"\ill
          b entered aft r uch d t rmination.

          The defendant must mak re titution including community restitution) to the li II \ ing paye                    in the amount listed
          belo\ .

          If the d fendant mak a partial payment. each payee 'hall recei\'e an approximately proponioned payment, unless
          specified othen i e in the priority order or percentage P?ymenl column b 10\ . H we er. pursuant to J ••                     c.
          3664 i}, all non-fed raJ victims must be paId before the United States.


   arne of Payee                                Total Loss'"                   R~slitution Ordered                   Priori t',' or Percentage




                                                                               _s_
          Resliruti n am unt rdered pursuant to plea agreement S                        _

          The defendant mU;;1 pay intere.t n a fine or re titution of more than 2, -00, unlcss the restitution r line i paid in full
                                                                                            **
          before the fifteenth da after Ute dale of the judgment, pursuant 10 18 U. . . 3612(f). All f the payment oplions on Sheet
          6 may be $ubjc t t p nallic' for d linquencyand default pursuant 10 18 U. .c. 3612(g).

          The court dClemlined that the deCi ndant d enoL have the ability 10 pay inlerest and it is ordered that:

                    the interesl r quiremcnt i wai\'ed for the _    fine   _     re'liluijon.

                    Ihe iOlere.t requiremeOl ror the _     fine _    restitution i modified as Ii 1I0w-:



* Findings for the 10lal amouOl of lo"e' arc required under Chapters 109A.. 110, 110        and I 13    fTitle 1 ror the offense;- committed
on or after eptember 13, 1994, but before pril 23. 1996.
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                                                                     riminal Case)

Defendant:                                                                                               Judgment - Page ~ f ~
Case 0.:


                                                   SCHEDULE OF PA YM£NTS




Having a es ed the defendant' abilit to pa . payment of the total riminal monetary penalties are due as follow

A.         .-2L    Lump sum payment of $ S25.00 due immediately, balance due
                                  not later than              , or
                                  in accordanc     _ C,         D.         or _ F elow; or

B.                 Payment 10 begin immediately (may b combined \ jth _                  C, _    D. or       F below); or
C.                 Payment in equal                 ( .g.. weekly, m nthl . quarterly) installment of S           er a peri~d
                     f         e.g., monthS or years), to commence             days (e.g. 30 r 60 day) after the date of this
                   judgment; or
D.                 Payment in equal           (e.g.. weekly. monthly, quarterly) instaLimenL of              over a period of
                   ..,....-----,~-_' ( .g., months or
                                                ear to conunenc                       (e.g. 30 or 60 days) after relea e from
                   imprisonment t a term of supervi ion: or
E.                 Pa}ment during the term of upelyi ed release \\ ill ommeoce within              (e.g.,30 r 60 days)
                   after relea from imprisonment. The court will t the payment plan ba ed on an as-essment of the
                   defendant's ability to pay al that time, or
F.                 Special instructions regarding the payment of criminal monetary penalties:


  nle the court has expre sl ordered oth f\ i e, if this judgment impo es imprisonment, paym nt of criminal monetary
penalti i due during unprisonment. All riminal mon tary penalti ,except those paym nts made through the Federal
Bureau of Prisons' lnmat Financial Responsibilit Program. are mad I th clerk of the ourt.

The d fendant shall receive credit for all payment pre iously made toward any criminal man tary penaltie imposed.
           .Toint and Several

           Defendant and o-Defendant Name and a e umbers (including defendant number). Total Amount, Joint and
Sc   rat    mount, and carr sponding payee, if appropriate:


           The defendant hall pay the cost of prose ution.
           The defendanl shall pay the following court cost(s):

           Th d fendant hall forfeit the defendant' interest in th 1'0110\ ing property to the              nited State :
        The Court orders that th defendant forfeit to the nired State immediately and v luntarilyan and all a t and
property or portions there f, ubj ct to forfeiture. which are in the p sion or control fthe defendant or th d ti ndant's
nominee,

Payments 'baU be applied in the following order: (1) a"e' 'ment, (2) re 'titution principal. (3) restitution interest, (-l) fine principal, (5)
fine inter '1. (6) community restitution. (7) penaltie '. and R) co ts. in luding c st of prosecution and court costs.
